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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


    UNITED STATES OF AMERICA,                          )
                                                       )
                                 Plaintiff,            )
                                                       )
                         vs.                           )     1:12-cr-00133-SEB-TAB
                                                       )
    GREGORY HART,                                      )              -24
                                                       )
                                 Defendant.            )



                 ORDER ADOPTING REPORT AND RECOMMENDATION
        Having reviewed Magistrate Judge Tim A. Baker’s Report and Recommendation that

 Gregory Hart’s supervised release be revoked, pursuant to Title 18, U.S.C. §3401(i) and

 Rule 32.1(a)(1) Federal Rules of Criminal Procedure and Title 18 U.S.C. §3583, the Court now

 approves and adopts the Report and Recommendation as the entry of the Court, and orders a

 sentence imposed of imprisonment of six (6) months in the custody of the Attorney General or

 his designee, with no supervised release to follow.

 SO ORDERED.            03/03/2015




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